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                    UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


                                            NO. 01-80144-3
                                            HON.PATRICK J. DUGGAN
UNITED STATES OF AMERICA,

                  Plaintiff(s),

vs.

CRAIG STEVEN TODD,

                  Defendant(s).
                                       /

          ORDER GRANTING MOTION FOR EARLY TERMINATION
                    OF SUPERVISED RELEASE

                  At a session of said Court, held in the U.S.
                  District Courthouse, City of Detroit, County
                  of Wayne, State of Michigan on July 15, 2009.


      This matter is before the Court on Defendant’s Motion for Early Termination

of Supervised Release. The Court has been informed that the Probation Department

and the Government has no objection to the termination of supervision, therefore;

      IT IS ORDERED that the Motion for Early Termination of Supervision be and

the same is hereby GRANTED.


                          s/Patrick J. Duggan
                          Patrick J. Duggan
                          United States District Judge

Dated: July 15, 2009

I hereby certify that a copy of the foregoing document was served upon counsel of
record on July 15, 2009, by electronic and/or ordinary mail.
                           s/Marilyn Orem
                           Case Manager
